                                       
                                       
                               Court of Appeals
                       Sixth Appellate District of Texas
                                       
                                       
                                   JUDGMENT
                                       
                                       
                                       
Gary Donell Sanders, Appellant
No. 06-12-00076-CR	v.
The State of Texas, Appellee

Appeal from the 4th District Court of Rusk County, Texas (Tr. Ct. No. CR11-255).  Opinion delivered by Justice Moseley, Chief Justice Morriss and Justice Carter participating.



As stated in the Court's opinion of this date, we find no error in the judgment of the court below.  We affirm the judgment of the trial court.
We note that the appellant, Gary Donell Sanders, has adequately indicated his inability to pay costs of appeal.  Therefore, we waive payment of costs.

RENDERED DECEMBER 6, 2012
BY ORDER OF THE COURT
JOSH R. MORRISS, III
CHIEF JUSTICE

ATTEST:
Debra K. Autrey, Clerk
